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 1                                                             Honorable John C. Coughenour
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 7                              IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE WESTERN DISTRICT OF WASHINGTON
 9
                                                  AT SEATTLE
10
                                                  )
11
     WASHINGTON CATTLEMEN’S                       ) Civil Action No. 2:19-cv-00569-JCC
12   ASSOCIATION,                                 )
                                                  )
13                 Plaintiff,                     )
     v.                                           )    PLAINTIFF’S SECOND MOTION
14
                                                  )  FOR PRELIMINARY INJUNCTION
15   UNITED STATES ENVIRONMENTAL                  )
     PROTECTION AGENCY; ANDREW                    )    ORAL ARGUMENT REQUESTED
16   WHEELER, in his official capacity as acting )
     administrator of the Environmental           ) NOTE ON MOTION CALENDAR:
17
     Protection Agency; UNITED STATES             )   July 24, 2020
18   ARMY CORPS OF ENGINEERS; and R.D. )
     JAMES, in his official capacity as Assistant )
19   Secretary for Civil Works, Department of the )
20
     Army,                                        )
                                                  )
21                  Defendants,                   )
                                                  )
22   PUGET SOUNDKEEPER ALLIANCE,                  )
23
     IDAHO CONSERVATION LEAGUE, and               )
     SIERRA CLUB,                                 )
24                                                )
                    Defendant-Intervenors.        )
25

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     Pl.’s 2d Motion for Preliminary Injunction                Pacific Legal Foundation
     Case No. 2:19-cv-00569-JCC                                930 G Street
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 1                               MOTION FOR PRELIMINARY INJUNCTION
 2              Plaintiff Washington Cattlemen’s Association (Cattlemen) 1 moves under Fed. R. Civ. P.
 3   65 for a preliminary injunction prohibiting Defendants Environmental Protection Agency (EPA)
 4   and United States Army Corps of Engineers (the Army) from enforcing the two words “or
 5   intermittent” in 33 C.F.R. § 328.3(c)(12) (effective June 22, 2020), and subsections 328.3(c)(1)(ii)
 6   -(iv) (effective June 22, 2020), in the Navigable Waters Protection Rule published by EPA and
 7   the Army at 85 Fed. Reg. 22,250, 22,338-39 (Apr. 21, 2020). 2, 3
 8   I.         Introduction
 9              This case is about the meaning of the term “navigable waters” in the Clean Water Act,
10   33 U.S.C. § 1251, et seq. “Navigable waters” are where Congress authorized the EPA and the
11   Army to regulate discharges of pollutants under that Act. Conversely, those agencies lack
12   authority to regulate discharges to features that are not “navigable waters.”
13              The issue in this motion is whether intermittent tributaries and non-navigable wetlands
14   that don’t abut navigable rivers or lakes are “navigable waters” under the Act. Cattlemen’s
15   members own farms and ranches in Washington containing many such features. EPA and the
16   Army claim authority under 33 C.F.R. §§ 328.3(c)(12) and (c)(1)(ii)-(iv) to regulate them;
17   Cattlemen contend that they are not “navigable waters.”
18              Cattlemen filed the Second Supplemental Complaint on May 4, 2020, raising various
19   claims against the Navigable Waters Protection Rule. ECF 72. In this motion, Cattlemen seek a
20
     1
21
          “Cattlemen” refers to Plaintiff and/or its members, as appropriate to the context.
     2
       Subsequent references to 33 C.F.R. § 328.3 and its subdivisions are, unless indicated otherwise,
22
     to the version effective June 22, 2020, and published in the Federal Register on April 21, 2020, at
23   85 Fed. Reg. at 22,338-39, and the identical provisions at 40 C.F.R. § 120.2, published the same
     date at 85 Fed. Reg. at 22,340-41. 40 C.F.R. 120.2(3)(xii) corresponds to 28 C.F.R. § 328.3(c)(12),
24   and 40 C.F.R. § 120.2(3)(i)(B)-(D) corresponds to 33 C.F.R. § 328.3(c)(1)(ii)-(iv). Plaintiff asks
     that the Court preliminarily enjoin the provisions in the EPA’s regulations identical to those
25
     explicitly listed from the Army’s regulations in this brief.
     3
26     This motion does not ask the Court to enjoin the Navigable Waters Protection Rule more
     generally, or to prevent any other provision of it from otherwise going into effect on its effective
27
     date of June 22, 2020. 85 Fed. Reg. at 22,250.
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 1   preliminary injunction against the regulation of intermittent tributaries in § 328.3(c)(12)
 2   (Intermittent Tributary Provision), and of non-abutting wetlands in § 328.3(c)(1)(ii)-(iv) (Non-
 3   abutting Wetland Provision).
 4           Cattlemen will prevail on the merits, because the Supreme Court has already ruled in
 5   Rapanos v. United States, 547 U.S. 715 (2006), that substantially similar provisions in prior
 6   regulations exceeded the scope of the Clean Water Act.
 7           Cattlemen will suffer irreparable harm if EPA and the Army are allowed to regulate their
 8   private property under the Intermittent Tributary and Non-abutting Wetland Provisions. The
 9   Provisions will require Cattlemen to spend months to years, and tens to hundreds of thousands of
10   dollars, to obtain Army permits to farm and otherwise use their own land. The time required to
11   obtain permits would prevent Cattlemen from working their own land despite the need for fast
12   action caused by weather and other unpredictable circumstances, as well as seasonal work that
13   would be delayed for months or years awaiting permitting. Even if obtained at this cost in time
14   and money, the resulting permits would significantly limit the use of their property. These harms
15   are imminent because they will apply to ongoing farming and ranching operations when the
16   Provisions take effect on June 22, 2020, and because farming and ranching involve unpredictable
17   weather events and other requirements. The balance of equities and the public interest both favor
18   an injunction.
19   II.     Legal Background: Decades of Dubious EPA and Army Regulation
             of Non-navigable Features Under the Clean Water Act
20

21           The Clean Water Act, 33 U.S.C. § 1251, et seq., regulates discharges of “pollutants” from
22   “point sources” to “navigable waters.” 33 U.S.C. § 1311(a), § 1362(12). The Act defines
23   “navigable waters” as “waters of the United States, including the territorial seas.” 33 U.S.C.
24   § 1362(7). The Act defines “the territorial seas” but does not otherwise define “waters of the
25   United States.” 33 U.S.C. § 1362(8). Nonexempt discharges require a permit from either the EPA
26   or the Army. Dredge and fill permits from the Army average more than two years, and $250,000
27   in consulting costs, to obtain. See Rapanos, 547 U.S. at 721; see also Hawkes Co., Inc. v. United

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 1   States Army Corps of Engineers, 782 F.3d 994, 1001 (8th Cir. 2015). Once obtained, dredge and
 2   fill permits substantially limit how property encumbered by “navigable waters” can be used by
 3   its owner. See generally Daniel R. Mandelker, Practicable Alternatives for Wetlands
 4   Development Under the Clean Water Act, 48 Envtl. L. Rep. News & Analysis 10894 (Oct. 2018).
 5           A person engaged in unpermitted, nonexempt discharges or permit violations faces citizen
 6   suits, administrative cease-and-desist and compliance orders, administrative penalties, civil actions
 7   for monetary civil penalties and injunctive relief, and criminal prosecution. See generally, Gwaltney
 8   of Smithfield, Ltd. v. Chesapeake Bay Foundation, Inc., 484 U.S. 49, 52-53 (1987). These severe
 9   burdens make it critically important that the regulated public know what is meant by “navigable
10   waters.”
11           Starting in the 1970s, the Army adopted increasingly broad regulations defining
12   “navigable waters.” See generally United States v. Riverside Bayview Homes, Inc., 474 U.S. 121,
13   123-24 (1985). In Riverside Bayview Homes the Supreme Court held that the Army reasonably
14   interpreted “navigable waters” to include a non-navigable wetland abutting a navigable-in-fact
15   creek. Id. at 135. Riverside Bayview Homes did not address whether “navigable waters” include
16   wetlands that don’t abut navigable-in-fact waters. Id. at 124 n.2; id. at 131 n.8.
17           In 1986 the Army adopted an updated definition that stretched the term “navigable waters”
18   to include interstate waters, intrastate waters with various relationships to interstate or foreign
19   commerce, all non-navigable tributaries of such waters, and all non-navigable wetlands adjacent to
20   (broadly defined as bordering, contiguous, or neighboring) such tributaries and other waters. See 33
21   C.F.R. § 328.3(a)(1)-(7), and § 328.3(c) (1987) (1986 Regulations). The Army interpreted the 1986
22   Regulations to include isolated waters used by migratory birds (the Migratory Bird Rule) and all
23   water used to irrigate crops sold in interstate commerce. Rapanos, 547 U.S. at 725 (citing 51 Fed.
24   Reg. 41,206, 41,217 (Nov. 13, 1986)).
25           The Supreme Court issued two adverse decisions against the 1986 Regulations. In Solid
26   Waste Agency of Northern Cook County v. United States Army Corps of Engineers, 531 U.S. 159
27   (2001) (SWANCC), the Court invalidated the Migratory Bird Rule as beyond the scope of

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 1   “navigable waters” under the Act. 531 U.S. at 172. SWANCC narrowed Riverside Bayview Homes
 2   by emphasizing that the word “navigable” in the text of the Act demonstrates that Congress was
 3   focused on its “traditional jurisdiction over waters that were . . . navigable in fact.” Id.
 4           Then in a fractured opinion in Rapanos, the Supreme Court invalidated the tributary and
 5   adjacent wetlands subsections of the 1986 Regulations as exceeding the scope of the statutory
 6   term “navigable waters.” The issue in Rapanos was whether “navigable waters” include non-
 7   navigable tributaries to navigable-in-fact waterways and wetlands that do not physically abut
 8   navigable-in-fact waterways. 547 U.S. at 728, id. at 759 (Kennedy, J., concurring). The Court
 9   remanded the case because these two provisions of the 1986 Regulations, on which the lower
10   court relied, invalidly claimed authority over all such tributaries and wetlands. Id. at 757.
11           The four-Justice Rapanos plurality determined that the language, structure, and purpose
12   of the Clean Water Act all limit federal authority over non-navigable tributaries to “relatively
13   permanent, standing or continuously flowing bodies of water” commonly recognized as “streams,
14   . . . oceans, rivers, and lakes[.]” Id. at 739 (brackets omitted) (quoting Webster’s Second 2882).
15   In its analysis the plurality repeatedly emphasized that intermittent (i.e., flowing more often than
16   ephemerally but not continuously) drainages are not regulated by the Act, going so far as to mock
17   the notion. Id. at 733.
18           The plurality also limited regulation of non-navigable wetlands to only those that
19   physically abut relatively permanent and continuously flowing waters, such that they have an
20   immediate surface water connection which renders the wetland and water body
21   “indistinguishable.” Id. at 755.
22           Justice Kennedy joined the plurality in the judgment that the tributary and adjacent
23   wetland subsections of the 1986 Definition were overbroad. But he proposed a broader
24   interpretation of “navigable waters” than the plurality: the “significant nexus” test. Id. at 759
25   (Kennedy, J., concurring). Under this view, the government can regulate a non-abutting wetland
26   if it significantly affects the physical, chemical, and biological integrity of a navigable-in-fact
27   waterway. Id. at 779 (Kennedy, J., concurring). Justice Kennedy wrote that wetlands could be

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 1   analyzed under this standard either standing alone or in combination with features similarly
 2   situated within an otherwise undefined “region.” Id. at 780 (Kennedy, J., concurring).
 3           In 2015, after several years of effort to address the Supreme Court’s decisions in SWANCC
 4   and Rapanos, EPA and the Army adopted new regulations (the 2015 Regulations) redefining
 5   “navigable waters.” 33 C.F.R. § 328.3 (2016); 80 Fed. Reg. 37,054 (June 29, 2015).
 6           The 2015 Regulations defined “tributary” as having a bed and bank and an ordinary high-
 7   water mark, and contributing flow to (1) navigable-in-fact waters, plus all waters which are, were,
 8   or reasonably could be used more generally in interstate commerce, (2) all interstate waters,
 9   including interstate wetlands, and (3) the territorial seas. 33 C.F.R. § 328.3(c)(3) (2016). The 2015
10   Regulations also established several criteria for regulation of “adjacent waters” based on Justice
11   Kennedy’s significant nexus analysis in Rapanos, see 33 C.F.R. § 328.3(c)(1), (2), (5) (2016).
12           Several lawsuits challenged the 2015 Regulations, including the original complaint in this
13   action. ECF 1. Cattlemen moved on June 14, 2019 to enjoin the 2015 Regulations. ECF 15. On
14   August 21, 2019, before this Court acted on Cattlemen’s first preliminary injunction motion, the
15   U.S. District Court for the Southern District of Georgia ruled on summary judgment that the 2015
16   Regulations violated the Clean Water Act. Georgia v. Wheeler, 418 F. Supp. 3d 1336 (S.D. Ga.
17   2019). That court permanently enjoined the 2015 Regulations in several states (not including
18   Washington) and remanded the rule without vacatur. Id. at 1382-83.
19           On October 22, 2019, partially in response to the decision in Georgia v. Wheeler, EPA
20   and the Army published a regulation (the Repeal and Recodify Rule) that (1) repeals the 2015
21   Regulations, and (2) readopts the 1986 Regulations. 84 Fed. Reg. 56,626 (Oct. 22, 2019). See
22   also Notice of Final Rule, ECF 46 (advising Court and parties that EPA and the Army signed the
23   Repeal and Recodify Rule on September 12, 2019). With leave of the Court, ECF 58, Cattlemen
24   filed the First Supplemental Complaint on December 20, 2019, ECF 60, adding claims against
25   provisions of the Repeal and Recodify Rule. On December 30, 2019, the Court denied
26   Cattlemen’s preliminary injunction motion against the 2015 Regulations as moot. ECF 61.
27   ///

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 1           On April 21, 2020, EPA and the Army published yet another regulation in the Federal
 2   Register called the Navigable Waters Protection Rule (“Navigable Waters Protection Rule” or
 3   “2020 Regulations”). 85 Fed. Reg. 22,250 (Apr. 21, 2020). The Navigable Waters Protection Rule
 4   regulates, among other aquatic features:
 5           Tributaries, 33 C.F.R. § 328.3(a)(2), which are rivers, streams, or similarly naturally
 6           occurring (whether or not altered or relocated) surface water channels (including ditches
 7           that relocate or are constructed in them, or that drain adjacent wetlands) that, in a typical
 8           year, contribute intermittent or perennial surface water flow to other regulated waters, 33
 9           C.F.R. § 328.3(c)(12). Perennial “means surface water flowing continuously year-round.”
10           33 C.F.R. § 328.3(c)(8). Intermittent “means surface water flowing continuously during
11           certain times of the year and more than in direct response to precipitation.” 33 C.F.R.
12           § 328.3(c)(5). 85 Fed. Reg. at 22,338-39. The intermittent non-navigable tributaries
13           regulated by Section 328.3(a)(2) can be both negligible in volume and very limited in
14           duration. The definition concededly includes the “merest trickle” because it has no lower
15           bound for the volume of flow necessary to be a tributary. 85 Fed. Reg. at 22,291. The Rule
16           also has no minimum duration of flow for a tributary to be regulated, other than that it
17           flow more than in direct response to precipitation. Id. at 22,292.
18           Adjacent wetlands, 33 C.F.R. § 328.3(a)(4), which are wetlands that abut, 33 C.F.R.
19           § 328.3(c)(1)(i), or are flooded by, 33 C.F.R. § 328.3(c)(1)(ii), other regulated non-
20           wetland waters, or are physically separated from them only by natural, 33 C.F.R.
21           § 328.3(c)(1)(iii), or permeable artificial, 33 C.F.R. § 328.3(c)(1)(iv), barriers. 85 Fed.
22           Reg. at 22,338.
23           With leave of this Court, ECF 71, Cattlemen filed the Second Supplemental Complaint
24   on May 4, 2020, adding claims against the Navigable Waters Protection Rule, including against
25   the provisions described above regulating tributaries and adjacent wetlands, ECF 72.
26   ///
27   ///

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 1              Cattlemen ask this Court to preliminarily enjoin the following provisions of the definitions
 2   of regulated tributaries and adjacent wetlands in the Navigable Waters Protection Rule, as
 3   indicated by strike through in the text of these provisions below:
 4              § 328.3(c)(1): The term adjacent wetlands means wetlands that: (i) Abut, meaning to
 5              touch at least at one point or side of, a water identified in paragraph (a)(1), (2), or (3) of
 6              this section; (ii) [a]re inundated by flooding from a water identified in paragraph (a)(1),
 7              (2), or (3) of this section in a typical year; (iii) [a]re physically separated from a water
 8              identified in paragraph (a)(1), (2), or (3) of this section only by a natural berm, bank, dune,
 9              or similar natural feature; or (iv) [a]re physically separated from a water identified in
10              paragraph (a)(1), (2), or (3) of this section only by an artificial dike, barrier, or similar
11              artificial structure so long as that structure allows for a direct hydrologic surface
12              connection between the wetlands and the water identified in paragraph (a)(1), (2), or (3)
13              of this section in a typical year, such as through a culvert, flood or tide gate, pump, or
14              similar artificial feature.
15

16              § 328.3(c)(12): The term tributary means a river, stream, or similar naturally occurring
17              surface water channel that contributes surface water flow to a water identified in paragraph
18              (a)(1) of this section in a typical year either directly or through one or more waters
19              identified in paragraph (a)(2), (3), or (4) of this section. A tributary must be perennial or
20              intermittent in a typical year. 4
21   85 Fed. Reg. at 22,338-39.
22   ///
23   ///
24   ///
25   ///
26

     4
27    Cattlemen omit the balance of the definition of “tributary” for brevity, and clarify that they do
     not ask the Court to enjoin any other provision of it.
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 1                                                 ARGUMENT
 2   I.       Cattlemen Has Standing Because the Intermittent Tributary
              and Non-abutting Adjacent Wetland Provisions Require Them
 3            to Get the Army’s Permission to Work Their Own Land
 4            Plaintiff has associational standing to challenge provisions of the Navigable Waters
 5   Protection Rule. The Washington Cattlemen’s Association is a non-profit trade organization
 6   dedicated to promoting and preserving the beef industry through producer and consumer
 7   education, legislative participation, regulatory scrutiny, and legal intervention related to
 8   environmental regulation, including the Clean Water Act. Cattlemen represents over 1,300
 9   cattlemen and landowners throughout the State of Washington, many of whom are regulated by
10   the Clean Water Act because of the Navigable Waters Protection Rule. Sam Ledgerwood Decl.
11   ¶¶ 2-3, ECF 16; Vik Stokes Decl. ¶¶ 3, 10, ECF 17; Supp. Stokes Decl. ¶ 14, ECF 37.
12            An association can sue on behalf of its membership when “(a) its members would
13   otherwise have standing to sue in their own right; (b) the interests it seeks to protect are germane
14   to the organization’s purpose; and (c) neither the claim asserted nor the relief requested requires
15   the participation of individual members in the lawsuit.” Oregon Advocacy Ctr. v. Mink, 322 F.3d
16   1101, 1109 (9th Cir. 2003) (citing Hunt v. Washington State Apple Advert. Comm’n, 432 U.S.
17   333, 343 (1977)); see also WildEarth Guardians v. U.S. E.P.A., 759 F.3d 1064, 1070 (9th Cir.
18   2014).
19            Cattlemen’s membership will suffer ongoing injury if the Intermittent Tributary and Non-
20   abutting Adjacent Wetland Provisions take effect; an injunction would prevent those injuries,
21   giving those members standing to sue in their own right. See Associated Gen. Contractors of Am.
22   v. Metro. Water Dist. of S. California, 159 F.3d 1178, 1181 (9th Cir. 1998). Many of Cattlemen’s
23   members hold beneficial interests in property that fall under federal regulation because of the
24   tributary and wetland provisions of the Navigable Waters Protection Rule. Ledgerwood Decl.
25   ¶¶ 2-3, ECF 16; Stokes Decl. ¶¶ 3, 10, ECF 17; Supp. Stokes Decl. ¶ 14, ECF 37. This will require
26   landowners to seek federal permit approval (at significant cost) to use their property. Ledgerwood
27   Decl. ¶ 4, ECF 16; Stokes Decl. ¶¶ 4, 10, ECF 17; Supp. Stokes Decl. ¶ 14, ECF 37. Or, it will

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 1   require Cattlemen to seek a determination from the Army or a private party expert whether the
 2   Navigable Waters Protection Rule applies to them. See Hawkes Co., Inc. v. U.S. Army Corps of
 3   Engineers, 782 F.3d 994, 1003 (8th Cir. 2015) (Kelly, J., concurring) (“[M]ost laws do not require
 4   the hiring of expert consultants to determine if they even apply to you or your property.”), aff’d,
 5   136 S. Ct. 1807 (2016); see also François Decl. ¶ 4 and Exhibit B (testimony of Army Sacramento
 6   District Enforcement Chief detailed procedures for determining exemptions, including
 7   requirement to delineate regulated waters), filed herewith. Because of the Navigable Waters
 8   Protection Rule’s illegal interpretation of “navigable waters,” Cattlemen will be required to
 9   forego plowing and other farming operations and otherwise curtail use of their property or obtain
10   federal approval of new and ongoing land-use projects at a cost of tens or hundreds of thousands
11   of dollars and years of delay. Supp. Ledgerwood Decl. ¶¶ 2-9, ECF 36; Supp. Stokes Decl. ¶¶ 2-
12   14, ECF 37.
13           Preventing these injuries is germane to Cattlemen’s purpose because Cattlemen seeks to
14   promote the cattle industry and to advocate for sensible environmental regulations insofar as they
15   control use of its members’ land. Ledgerwood Decl. ¶¶ 2, 6, ECF 16; François Decl. ¶ 5 and
16   Exhibit C (Washington Cattlemen’s comments on proposed Navigable Waters Protection Rule,
17   objecting to the two provisions challenged in this motion). The Intermittent Tributary and Non-
18   abutting Adjacent Wetland Provisions impose costly and unjustified burdens on the industry.
19   And, because Cattlemen seeks to enjoin these two provisions on their face, there is no need for
20   the direct participation of its individual members. Associated Gen. Contractors, 159 F.3d at 1181
21   (“Individualized proof from the members is not needed where, as here, declaratory and injunctive
22   relief is sought rather than monetary damages.”). Accordingly, Cattlemen has standing.
23   II.     The Court Should Preliminarily Enjoin the Intermittent
             Tributary and Non-abutting Wetland Provisions
24

25           A preliminary injunction preventing the enforcement of the Intermittent Tributary and
26   Non-abutting Wetland Provisions is appropriate because: (1) Cattlemen is likely to succeed on
27   the merits; (2) it is likely to suffer irreparable harm in the absence of preliminary relief; (3) the

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 1   balance of equities tips in its favor; and (4) an injunction is in the public interest. Winter v.
 2   National Resources Defense Council, 555 U.S. 7, 20 (2008). Here, all four elements strongly
 3   favor an injunction.
 4           A.       Cattlemen Will Prevail on the Merits
 5                    1.       The Judgment Against the Government in Rapanos
                               Controls in This Case Under Issue Preclusion
 6

 7           Issue preclusion “bars a party from relitigating an issue once it has suffered an adverse
 8   determination on the issue, even if the issue arises when the party is pursuing or defending against
 9   a different claim.” Park Lake Resources Ltd. Liability v. U.S. Dep’t of Agric., 378 F.3d 1132,
10   1136 (10th Cir. 2004) (citations omitted). Issue preclusion attaches when
11
             (1) the issue previously decided is identical with the one presented in the action in
             question, (2) the prior action has been finally adjudicated on the merits, (3) the party
12
             against whom the doctrine is invoked was a party, or in privity with a party, to the
13
             prior adjudication, and (4) the party against whom the doctrine is raised had a full
             and fair opportunity to litigate the issue in the prior action.
14
     Id. (quoting Ashe v. Swenson, 397 U.S. 436, 443 (1970)). Issue preclusion can be invoked by any
15
     third party against a party in privity to the parties in the prior decision. Id. at 1138 (citing cases).
16
     Issue preclusion bars EPA and the Army from arguing that the Intermittent Tributary and Non-
17
     abutting Wetland Provisions are lawful.
18
             First, the issue in this case is identical to the issue in Rapanos: whether the agencies may
19
     regulate (1) all intermittent tributaries, and (2) non-abutting wetlands, under the Clean Water Act
20
     and the Constitution. Rapanos, 547 U.S. at 724-25. The 1986 Regulations included all intermittent
21
     tributaries, 33 C.F.R. § 328.3(a)(5) (1987), 51 Fed. Reg. 41,206, 41,250-51 (Nov. 13, 1986)
22
     (regulating all “tributaries”); see Rapanos, 547 U.S. at 726-27 (agencies used 1986 definition of
23
     tributary to regulate intermittent drainages), which Rapanos rejected, 547 U.S. at 733-34. The
24
     Navigable Waters Protection Rule identically regulates all intermittent tributaries, so on this
25
     provision the issues in this case and in Rapanos are identical. And the 1986 Regulations regulated
26
     the same non-abutting wetlands that the Navigable Waters Protection Rule does. Compare 33
27
     C.F.R. § 328.3(a)(7), (c) (1987) (regulating adjacent wetlands defined as “bordering, contiguous,
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 1   or neighboring”) with 33 C.F.R. § 328.3(a)(4), (c)(1), 85 Fed. Reg. at 22,338-39 (regulating non-
 2   abutting wetlands that are flooded by other regulated waters or separated from them by barriers).
 3   So on this second provision, the issue in the two cases is identical.
 4           Second, Rapanos was adjudicated on the merits at the Supreme Court of the United States.
 5   Nothing could be more final in the federal courts. Third, the United States was the respondent in
 6   Rapanos, and agencies of the United States are in privity with the United States. Sunshine
 7   Anthracite Coal Co. v. Adkins, 310 U.S. 381, 402-03 (1940). The Army was also the respondent
 8   in Carabell, which was a companion case to Rapanos and part of the same judgment. Finally, the
 9   United States had a full and fair opportunity to litigate the Rapanos case. See Parklane Hosiery
10   Co., Inc. v. Shore, 439 U.S. 322, 331-32 (1979) (appeal to circuit court after trial before district
11   court affords full and fair opportunity).
12           Cattlemen can invoke issue preclusion against the federal government in this case despite
13   United States v. Mendoza, 464 U.S. 154, 162 (1984) (nonmutual offensive issue preclusion does
14   not run against the government in certain cases). In Mendoza, the Supreme Court decided that the
15   United States could not be precluded from litigating a constitutional issue it had lost in a decision
16   of the Northern District of California, which the government elected not to appeal. Id. at 157. The
17   Supreme Court focused its analysis in Mendoza on the long practice of allowing important
18   constitutional issues to percolate through the circuit courts before final resolution in the Supreme
19   Court. Id. at 160. Estopping the government with unappealed district court decisions would
20   prevent this percolation. Id. The Court further emphasized the significance of the Solicitor
21   General’s discretion whether to appeal district court decisions, and which circuit court decisions
22   to petition to the Supreme Court. Precluding relitigation of issues based on district court decisions
23   would upend the Solicitor General’s decision making. Id. at 161.
24           None of these concerns apply to Supreme Court decisions, and Mendoza correspondingly
25   limits its holding to “relitigation of issues such as those involved in this case,” id. at 162, i.e.,
26   issues resolved by a lower court which could still be percolated through the courts of appeal and
27   which implicate the Solicitor General’s discretion in filing appeals and petitions for certiorari.

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 1           Defendants are barred under issue preclusion from defending the validity of the
 2   Intermittent Tributary and Non-abutting Wetland Provisions. Cattlemen are more than likely to
 3   succeed on the merits.
 4                    2.         The Scope of the Preliminary Injunction Depends on
                                 Which Rapanos Opinion Is the Holding
 5

 6           Although Rapanos provided a clear majority as to the result, the judgment rested on a 4-
 7   1 split as to its rationale. So the Court must determine which of the opinions supporting the
 8   judgment is the holding: the plurality or Justice Kennedy’s concurrence.
 9                          a.      The Supreme Court Has Established That the
                                    Plurality Is the Holding of Rapanos
10

11           The Supreme Court recently showed that it reads the plurality as the controlling opinion
12   in the Rapanos decision. In County of Maui, Hawaii v. Hawaii Wildlife Fund, 140 S. Ct. 1462
13   (2020), the Court addressed the question of whether, under the Clean Water Act, the movement
14   of a pollutant from a point source like an injection well through groundwater to navigable waters
15   such as the Pacific Ocean is a regulated “discharge.” 140 S. Ct. at 1468. The Court issued a six-
16   Justice majority opinion authored by Justice Breyer, id. at 1468-78, a concurrence by Justice
17   Kavanaugh, id. at 1478-79 (Kavanaugh, J., concurring), and two separate dissents by Justices
18   Thomas (joined by Justice Gorsuch), id. at 1479-82 (Thomas, J., dissenting), and Alito, id. at
19   1482-92 (Alito, J., dissenting). All four of these opinions cite the Rapanos plurality for its
20   discussion of point sources under the Act, see Rapanos, 547 U.S. at 743-44, and apply that
21   discussion in disparate ways to whether pollutants moving through groundwater are “added” to
22   the receiving ocean waters so as to constitute a discharge. See 140 S. Ct. at 1475 (citing Rapanos,
23   547 U.S. at 743) (nothing in statute requires that a pollutant move “directly” or “immediately”
24   from its origin to navigable waters); id. at 1478 (Kavanaugh, J., concurring) (majority reading of
25   “discharge” “adheres to the interpretation set forth in Justice Scalia’s plurality opinion in
26   Rapanos”); id. at 1482 (Thomas, J., dissenting) (Rapanos plurality does not decide the issue in
27   ///
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 1   this case); id. at 1487 n.5 (Alito, J., dissenting) (Rapanos plurality supports “daisy chaining” point
 2   sources).
 3           While the four authors in County of Maui disagree about the application of the Rapanos
 4   plurality to the definition of “discharge,” they all agree that the plurality is the opinion in Rapanos
 5   to look to in answering the question presented in County of Maui.
 6           This is consistent with and grows organically from the Court’s prior citations to Rapanos.
 7   The Supreme Court cited Rapanos in nine cases before County of Maui. In all of those cases, the
 8   Court cites the Rapanos plurality. See Hamdan v. Rumsfeld, 548 U.S. 557, 706 (2006) (Thomas,
 9   J., dissenting) (citing Rapanos, 547 U.S. 715); Exxon Shipping v. Baker, 554 U.S. 471, 508 n.21
10   (2008) (citing Rapanos, 547 U.S. at 749); Kucana v. Holder, 558 U.S. 233, 252-53 (2010) (citing
11   Rapanos, 547 U.S. at 752); PPL Montana, LLC v. Montana, 565 U.S. 576, 592 (2012) (citing
12   Rapanos, 547 U.S. at 730-31); Sackett v. EPA, 566 U.S. 120, 123 (2012) (citing Rapanos, 547
13   U.S. 715); id. at 133 (Alito, J., concurring) (citing Rapanos, 547 U.S. at 732-39); Abramski v.
14   United States, 573 U.S. 169, 198 (2014) (Scalia, J., dissenting) (citing Rapanos, 547 U.S. at 752);
15   Alabama Legislative Black Caucus v. Alabama, 575 U.S. 254, 268 (2015) (citing Rapanos, 547
16   U.S. at 757); United States Army Corps of Engr’s v. Hawkes Co., Inc., 136 S. Ct. 1807, 1811-12,
17   1815 (2016) (citing Rapanos, 547 U.S. at 721-22); National Ass’n of Mfrs. v. Department of
18   Defense, 138 S. Ct. 617, 625 (2018) (citing Rapanos, 547 U.S. at 723); id. (citing Rapanos, 547
19   U.S. at 729, 757); id. at 633 (citing Rapanos, 547 U.S. at 729). By contrast, the Court has only
20   cited Justice Kennedy’s Rapanos concurrence once, in his opinion for the Court in PPL Montana,
21   immediately following his citation to the plurality. 565 U.S. at 592 (citing Rapanos, 547 U.S. at
22   761 (Kennedy, J., concurring in judgment)).
23           This pattern is clearest in the Supreme Court’s post-Rapanos cases that address questions
24   arising under the Clean Water Act. See Sackett v. EPA, 566 U.S. at 123 (citing Rapanos, 547 U.S.
25   715); id. at 133 (Alito, J., concurring) (citing Rapanos, 547 U.S. at 732-39); Hawkes Co., 136 S.
26   Ct. at 1811-12, 1815 (citing Rapanos, 547 U.S. at 721-22); National Ass’n of Mfrs., 138 S. Ct. at
27   625 (citing Rapanos, 547 U.S. at 723); id. (citing Rapanos, 547 U.S. at 729, 757); id. at 633 (citing

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 1   Rapanos, 547 U.S. at 729). And this pattern culminates in County of Maui, in which all four
 2   opinions debate how the Rapanos plurality bears on the “discharge” question. None of the
 3   Supreme Court’s post-Rapanos Clean Water Act cases cite the Kennedy concurrence; they all
 4   cite the plurality.
 5                          b.     The Rapanos Plurality Avoids Serious Constitutional
                                   Concerns Raised by Justice Kennedy’s Concurrence
 6

 7           The interpretation of “navigable waters” is also subject to constitutional constraints.
 8   Under the canon of constitutional avoidance, this Court should look to which of the Rapanos
 9   opinions interprets the Act to avoid giving it a constitutionally suspect meaning. Any
10   interpretation that would extensively regulate a wide range of non-navigable tributaries or non-
11   abutting wetlands raises issues under the Commerce Clause and the Tenth Amendment.
12           The Supreme Court held in SWANCC that the Act lacks a “clear statement” of
13   congressional intent to exercise the Commerce Power to its outer limits. 531 U.S. at 172-74.
14   Reading the statute broadly to reach Cattlemen’s farming and related activities through regulation
15   of intermittent tributaries, for example, would authorize federal regulation over a wide range of
16   local decisions involving water resources and closely regulate land use and planning, all
17   traditionally state and local government functions which are explicitly protected from invasion
18   by Section 1251(b). Reading the Act to allow this would violate the clear statement rule and is
19   impermissible. SWANCC, 531 U.S. at 174; Rapanos, 547 U.S. at 737-38.
20           Further, the legislative history of the Act only supports the exercise of the Commerce
21   Power over its traditional object: the transport of goods in interstate commerce through
22   navigation. 531 U.S. at 168; id. at 168 n.3. Any reading of “navigable waters” that authorizes
23   regulation substantially beyond waters used to transport interstate commerce would violate the
24   clear statement rule and SWANCC.
25           Similarly, a broad reading of “navigable waters” would violate the Tenth Amendment’s
26   reservation of powers to the states, including the states’ traditional authority over land use and
27   water resource allocation which are expressly recognized and protected in the Act. 33 U.S.C.

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 1   § 1251(b). See Gary E. Parish & J. Michael Morgan, History, Practice and Emerging Problems
 2   of Wetlands Regulation: Reconsidering Section 404 of the Clean Water Act, 17 Land & Water L.
 3   Rev. 43, 84 (1982) (“The existing [regulation] looks and has an effect similar to a program of
 4   federal land use control. There should be little doubt that Congress did not intend such a result.”).
 5              The Tributary and Non-abutting Wetland Provisions raise these constitutional concerns to
 6   their height. Cattlemen’s use of portions of their land where intermittent tributaries and non-
 7   abutting wetlands are located for growing crops, raising livestock, and the wide range of related
 8   activities that support those primary uses, has no impact at all on the use of downstream
 9   navigable-in-fact rivers or lakes to transport goods in commerce. The Army’s permitting regime
10   applied to farming and related land uses on private farms and ranches directly conflicts with local
11   land use administration. See, e.g., Whatcom County Code § 20.40.051 (permitted uses in
12   agricultural zones include “raising of livestock” and “raising of crops”); id. § 20.40.101 (all
13   ancillary uses permitted); 5 cf. 36.70A.20(8) Rev. Code Wash. Ann. (Washington state goal to
14   maintain productive agricultural industries under Growth Management Act). Because Army
15   dredge and fill permitting is so time consuming and expensive, and ultimately restricts subsequent
16   land use, the need to obtain the permit amounts to a de facto federal veto over quintessentially
17   local land use matters like farming. This federal veto of local land use permitting is exactly what
18   SWANCC says the Clean Water Act cannot be interpreted to allow. Because the Rapanos plurality
19   does not allow such regulation, while Justice Kennedy’s concurrence does, the plurality must be
20   preferred under the canon of constitutional avoidance.
21              The Rapanos plurality also avoids Due Process and Non-Delegation concerns implicated
22   by Justice Kennedy’s concurrence. The Due Process Clause of the U.S. Constitution requires that
23   criminal statutes provide adequate notice of the conduct which they proscribe to those who must
24   comply. United States v. Lanier, 520 U.S. 259, 265-57 (1997). The Clean Water Act imposes
25   criminal penalties. 33 U.S.C. § 1319(c). The rule of lenity also requires that statutes with criminal
26

     5
27    Available at https://www.codepublishing.com/WA/WhatcomCounty/html/WhatcomCounty20/
     WhatcomCounty2040.html.
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 1   penalties be interpreted in the light most favorable to criminal defendants. United States v.
 2   Granderson, 511 U.S. 39, 54 (1994) (“[W]here text, structure, and history fail to establish that
 3   the Government's position is unambiguously correct—we apply the rule of lenity and resolve the
 4   ambiguity in [the defendant’s] favor.”). Judges who have sought to apply Justice Kennedy’s
 5   concurrence have noted the vagueness issues it introduces. See, e.g., Hawkes Co., Inc. v. U.S.
 6   Army Corps of Engineers, 782 F.3d at 1003 (Kelly, J., concurring) (“[M]ost laws do not require
 7   the hiring of expert consultants to determine if they even apply to you or your property.”);
 8   Orchard Hill Building Company v. Army Corps, 893 F.3d 1017, 1025 (7th Cir. 2018) (“Justice
 9   Kennedy did not define ‘similarly situated’—a broad and ambiguous term . . . .”). Recognition of
10   the Rapanos plurality as the holding comports with the Rule of Lenity and the Due Process
11   Clause.
12             Justice Kennedy’s Rapanos concurrence interprets the Clean Water Act to regulate an
13   extensive catalog of “tributaries” that are not navigable and which are not even “waters” for most
14   of every year, as well as non-navigable isolated lakes and ponds, and non-abutting wetlands, so
15   long as these features have a vaguely defined “significant nexus.” The Supreme Court has held
16   that while the Clean Water Act regulates some waters that are not navigable-in-fact, it does not
17   regulate all “waters” and that “navigable” must have some limiting meaning. SWANCC, 531 U.S.
18   at 171-72 (the Act regulates some waters not “deemed navigable under the classical understanding
19   of that term” but not all such waters) (quoting Riverside Bayview Homes, 474 U.S. at 133).
20             The Act does not define “navigable.” If the term does not have its ordinary meaning but
21   instead has some broader or different meaning like “significant nexus,” then the statute
22   unconstitutionally delegates to EPA and the Army the task of deciding, as a policy matter, what
23   waters the agencies will regulate. The agencies themselves see their work in adopting the
24   provisions challenged in this motion as largely one of identifying, balancing, and selecting among
25   competing policy priorities. See, e.g., 85 Fed. Reg. at 22,264, 22,270-71, 22,277, 22,290, 22,292,
26   22,300.
27   ///

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 1           In making this delegation, the Act lacks any appropriately understood “intelligible
 2   principle” and provides no guidance or criteria to the agencies to circumscribe their policy
 3   decision defining “navigable.” The Act identifies no fact-finding that the agencies must engage
 4   in to define “navigable.” The Act provides no factors for the agencies to consider, let alone what
 5   weight to give to any such factors, in determining the meaning of “navigable.” Rather, if
 6   “navigable” in the statute means something other than “navigable-in-fact,” then the statute
 7   delegates unbounded discretion to the agencies to define the term, in violation of the non-
 8   delegation doctrine, and Article I of the Constitution (vesting “all legislative powers” in the
 9   Congress). See Gundy v. United States, 139 S. Ct. 2116, 2135-42 (2019) (Gorsuch, J., dissenting);
10   id. at 2130-31 (Alito, J., concurring); see also Paul v. United States, 140 S. Ct. 342 (2019)
11   (statement of Kavanaugh, J., respecting denial of certiorari).
12           The Rapanos plurality, by contrast, interprets the Act to apply only to easily understood
13   and defined bodies of water: relatively permanent and continuously flowing or standing rivers
14   and lakes, and their immediately abutting wetlands. The agencies’ scope of regulatory discretion
15   is much narrower and more clearly bounded under this interpretation. The plurality avoids the
16   delegation problems which Justice Kennedy’s interpretation inherently embraces, and thus is also
17   a preferable interpretation of the Act under Article I and the Non-Delegation Doctrine.
18           But even without the clear and progressively more robust adoption of the Rapanos
19   plurality by the Supreme Court itself, and the application of the canon of constitutional avoidance,
20   lower courts must identify the plurality as the holding of Rapanos by applying Marks v. United
21   States, 430 U.S. 188 (1977).
22                          c.     This Court Must Apply Rapanos Using the Marks Framework as
                                   Clarified by the Ninth Circuit’s Decision in United States v. Davis
23

24           Marks holds that “[w]hen a fragmented Court decides a case and no single rationale
25   explaining the result enjoys the assent of five Justices, ‘the holding of the Court may be viewed
26   as that position taken by those Members who concurred in the judgments on the narrowest
27   grounds.’” Marks, 430 U.S. at 193 (quoting Gregg v. Georgia, 428 U.S. 153, 169 n.15 (1976)).

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 1           The Ninth Circuit recently provided definitive guidance for applying Marks in United
 2   States v. Davis, 825 F.3d 1014 (9th Cir. 2016) (en banc), which examined a 4-1-4 split decision
 3   in Freeman v. United States, 564 U.S. 522 (2011). Davis, 825 F.3d at 1019. Freeman addressed
 4   whether a defendant who entered into a plea agreement could take advantage of a sentence
 5   reduction under the Sentencing Reform Act. Davis, 825 F.3d at 1019. Four Justices in the
 6   Freeman plurality held the defendant could almost always take advantage of the sentence
 7   reduction, so long as the sentence imposed reflected the Sentencing Guidelines then in effect. Id.
 8   Justice Sotomayor separately concurred, arguing that a defendant could only take advantage of
 9   the sentence reduction when the plea agreement incorporates or uses the Sentencing Guidelines.
10   Id. at 1019-20. Four dissenting Justices would have held a defendant relying on a plea agreement
11   could never take advantage of the sentence reduction under the Sentencing Reform Act. Id. at
12   1019. To determine the controlling Freeman opinion, the Ninth Circuit started with Marks:
13           When a fragmented Court decides a case and no single rationale explaining the
             result enjoys the assent of five Justices, the holding of the Court may be viewed as
14           that position taken by those Members who concurred in the judgments on the
             narrowest grounds.
15

16   Davis, 825 F.3d at 1020 (quoting Marks, 430 U.S. at 193).
17           The Ninth Circuit observed that after forty years, the courts are still struggling “to divine
18   what the Supreme Court meant by ‘the narrowest grounds,’” with two approaches emerging. Id.
19   (quoting Marks, 430 U.S. at 193). One is the reasoning-based approach, which seeks common
20   reasoning among the concurring opinions to see if one is a logical subset of the other, broader
21   opinion. Id. at 1021. “In essence, the narrowest opinion must represent a common denominator
22   of the Court’s reasoning; it must embody a position implicitly approved by at least five Justices
23   who support the judgment.” Id. at 1020 (quoting King v. Palmer, 950 F.2d 771, 781 (D.C. Cir.
24   1991) (en banc)). The other approach is results-based and defines “narrowest grounds” as “the
25   rule that ‘would necessarily produce results with which a majority of the Justices from the
26   controlling case would agree.’” Id. at 1021.
27   ///
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 1           Of the two, Davis rejected the results-based approach and held that this Circuit is to use
 2   the reasoning-based approach:
 3           To foster clarity, we explicitly adopt the reasoning-based approach to applying
             Marks. . . . A fractured Supreme Court decision should only bind the federal courts
 4           of appeal when a majority of the Justices agree upon a single underlying rationale
             and one opinion can reasonably be described as a logical subset of the other. When
 5
             no single rationale commands a majority of the Court, only the specific result is
 6
             binding on lower federal courts.
     Id. at 1021-22 (citation and footnote omitted).
 7
             Shortly after Davis, the Ninth Circuit held that only opinions supporting the judgment can
 8
     be examined as potential logical subsets of each other in determining a holding of the Supreme
 9
     Court under Marks. Cardenas v. United States, 826 F.3d 1164, 1171 (9th Cir. 2016) (“narrowest
10
     opinion must represent a common denominator of the Court’s reasoning; it must embody a
11
     position implicitly approved by at least five Justices who support the judgment” (emphasis added)
12
     (quoting Davis, 825 F.3d at 1020)). While a dissent may be useful in assessing the reasoning of
13
     the opinions supporting the judgment and identifying which is the logical subset of the other, a
14
     dissent itself cannot be either the broader or narrower opinion for determining the holding.
15
                               (i)      Under Davis, the Rapanos Plurality Is the Narrowest Ground
16                                      for the Decision and Is the Holding
17
             The key to the question “what is the narrowest opinion” in Rapanos is identifying what
18
     the judgment did. The Court remanded the case to the Sixth Circuit for further proceedings, after
19
     determining that the agencies and the lower courts had not properly defined “navigable waters.”
20
     547 U.S at 757. The Supreme Court arrived at this judgment through two different interpretations
21
     of “navigable waters.” As such, the “narrowest opinion” is the one with the narrowest meaning
22
     of “navigable waters.”
23
             The plurality and concurrence show this. 547 U.S. at 729 (“In these consolidated cases,
24
     we consider whether four Michigan wetlands, which lie near ditches or man-made drains that
25
     eventually empty into traditional navigable waters, constitute ‘waters of the United States’ within
26
     the meaning of the Act.”); id. (addressing landowners’ contentions about the meaning of
27
     “navigable waters” and “waters of the United States”); id. at 739 (rejecting Army’s “expansive
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 1   interpretation” as an “[im]permissible construction of the statute”) (quoting Chevron U.S.A. Inc.
 2   v. N.R.D.C., Inc., 467 U.S. 837, 843 (1984)); see also 547 U.S. at 759 (Kennedy, J., concurring)
 3   (“These consolidated cases require the Court to decide whether the term ‘navigable waters’ in the
 4   Clean Water Act extends to wetlands that do not contain and are not adjacent to waters that are
 5   navigable in fact.”); id. at 759 (“The word ‘navigable’ in the Act must be given some effect.”).
 6           And the judgment in Rapanos confirms that the only issue in the case is how to interpret
 7   the Act. “We vacate the judgments of the Sixth Circuit . . . and remand both cases for further
 8   proceedings.” 547 U.S. at 757. Both opinions which supported this judgment did so because of
 9   an interpretation of the statute which differed from that applied by the Sixth Circuit. Id. (“Because
10   the Sixth Circuit applied the wrong standard to determine if these wetlands are covered ‘waters
11   of the United States . . . .’”); id. at 757 (Kennedy, J., concurring) (“navigable waters” must have
12   “significant nexus” to navigable in fact waters, supports remand “for proper consideration of the
13   nexus requirement”). The only direction that the Sixth Circuit got from the Supreme Court in its
14   further proceedings were the two opinions supporting remand, and the only legal rules on offer
15   in either of those opinions is the meaning of “navigable waters.” So, which of these two opinions
16   is a logical subset of the other depends on how each interpreted the statute.
17           This accords with Marks, which applied the Supreme Court’s prior fractured decision in
18   Memoirs v. Massachusetts, 383 U.S. 413 (1966). Marks, 430 U.S. at 193-94 (discussing Memoirs,
19   383 U.S. 413). Memoirs was a split decision, with three Justices stating that the First Amendment
20   protected pornographic material unless it met three tests. 383 U.S. at 418. Two other Justices
21   would read the First Amendment more broadly to protect all obscene material without limit. Id.
22   at 421, 424 (Black and Douglas, JJ., concurring). Marks says that the narrower reading of the
23   applicable constitutional provision controlled. Similarly, a reasoning-based approach to applying
24   Marks to Rapanos must look at how broadly or narrowly the two opinions supporting the
25   judgment interpret the applicable statutory provision.
26           In Rapanos, the Supreme Court ruled that the term “navigable waters” in the Act was
27   narrower than the Agencies’ then-applicable regulations defining the term. 547 U.S. at 734 (“The

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 1   plain language of the statute simply does not authorize this ‘Land Is Waters’ approach to federal
 2   jurisdiction.”); id. at 759 (Kennedy, J., concurring) (lower court did not apply proper standard to
 3   determine whether wetlands not abutting navigable waters were jurisdictional). The Justices
 4   supporting the judgment adopted concentric rationales for the judgment. The plurality interprets
 5   “navigable waters” narrowly, while Justice Kennedy interprets it more broadly.
 6           The point of departure between them is the plurality’s narrow reading of the term
 7   “significant nexus” (as describing only the type of physical intermingling that prevents a clear
 8   distinction between the waters and the wetlands) and Justice Kennedy’s broad reading of it (as
 9   categorically encompassing abutting wetlands, in accord with the plurality, and also including
10   others on a case-by-case basis, with which the plurality disagreed). Compare Rapanos, 547 U.S.
11   at 754-55 (disagreement with Kennedy’s broad reading of “significant nexus”), with id. at 774
12   (Kennedy, J., concurring) (prior Supreme Court decisions allow regulation of wetlands not
13   physically abutting tributaries).
14           The plurality summed it up this way:
15           [E]stablishing that wetlands . . . are covered by the Act requires two findings: first,
             that the adjacent channel contains a “wate[r] of the United States,” (i.e., a relatively
16           permanent body of water connected to traditional interstate navigable waters); and
             second, that the wetland has a continuous surface connection with that water,
17
             making it difficult to determine where the “water” ends and the “wetland” begins.
18   Rapanos, 547 U.S. at 742.
19           Justice Kennedy agreed with important aspects of this. Rapanos, 547 U.S. at 759-60. “The
20   plurality’s opinion begins from a correct premise.” That being that the Act regulates “at least
21   some waters that are not navigable in the traditional sense.” Id. at 767. But, “[f]rom this reasonable
22   beginning the plurality proceeds to impose two limitations on the Act[.]” Id. at 768 (emphasis
23   added). These “limitations” are the two elements of the plurality’s rule: that “navigable waters”
24   are only “relatively permanent, standing or flowing bodies of water” and that wetlands are only
25   subject to the Act if they have a “continuous surface connection” to relatively permanent,
26   standing, or flowing bodies of water. Id. at 768-69.
27   ///
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 1           On relative permanence (“the plurality’s first requirement,” id. at 769), Justice Kennedy
 2   said the plurality’s reading of Riverside Bayview Homes was too narrow. Rapanos, 547 U.S. at
 3   771. Justice Kennedy concluded that the Army could read “waters” more broadly to include
 4   “impermanent streams.” Id. at 770.
 5           On “[t]he plurality’s second limitation,” Justice Kennedy disagreed that Riverside
 6   Bayview Homes limits regulated wetlands to just those which abut navigable waters so closely
 7   that they cannot be distinguished, or even that there be a continuous surface connection, however
 8   close. Rapanos, 547 U.S. at 772-73. Justice Kennedy also disagreed with the plurality’s reading
 9   of SWANCC as requiring a surface connection between wetlands and navigable waters. Rapanos,
10   547 U.S. at 774. Justice Kennedy concluded that the Army’s broader definition of “adjacent”
11   would be reasonable if limited to those wetlands with a significant nexus. Id. at 775.
12           In short, Justice Kennedy’s view is that the plurality reads “navigable waters” in the
13   statute, the holding of Riverside Bayview Homes, and the term “significant nexus” used in
14   SWANCC too narrowly. By Justice Kennedy’s own critique of the plurality, he thinks it narrower
15   than his reasoning.
16           At the same time, he agrees that those waters the plurality generally considers “navigable”
17   are covered by the Act. Justice Kennedy reads the Act as applicable to both permanent and
18   “impermanent streams.” Id. at 770. So, the relatively permanent tributaries which the plurality
19   reads the Act as covering are a logical subset of the broader category of both permanent and
20   impermanent streams which the concurrence recognizes.
21           Justice Kennedy also agreed with the plurality that wetlands which cannot easily be
22   distinguished from covered tributaries are categorically covered by the Act. Id. at 780. The
23   plurality would limit covered wetlands to this category, which is a subset of the broader group of
24   adjacent waters to which Justice Kennedy reasons the Act may apply on a case-by-case basis.
25   And Justice Kennedy’s reasoning as to directly abutting wetlands is that they categorically have
26   the “significant nexus” that his rule requires. Id. Both opinions categorically include this class of
27   wetlands.

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 1           The relatively permanent tributaries and directly abutting wetlands covered by the
 2   plurality’s rule are a logical subset of Justice Kennedy’s broader reading of “navigable waters,”
 3   and Justice Kennedy sees these waters as a subset of those his rule would include.
 4           The concurrence does state that some waters meeting the plurality’s test might lack a
 5   “significant nexus.” Id. at 776. But this is not a fair reading of the plurality. The plurality limits
 6   its coverage of non-navigable tributaries to relatively permanent waters that can properly be
 7   described as lakes, rivers, and streams. Id. at 742. Justice Kennedy asserts that some of these
 8   waters might not have a significant nexus, without explaining how. Id. at 776-77 (Kennedy, J.,
 9   concurring).
10           The concurrence never gives examples of relatively permanent tributaries that would not
11   be covered by his rule, and misreads the plurality as applying the Act to “wetlands (however
12   remote)” so long as there is a surface connection, however minor. Id. at 776. But the plurality is
13   limited to those relatively permanent waters that would be called lakes, rivers, or streams “in
14   normal parlance.” Id. at 742. One using “normal parlance” would not call a mere trickle a stream.
15           Nor does the plurality admit regulation of wetlands based on a mere surface connection,
16   “however remote.” The plurality specifically rejects this. Id. at 742. Justice Kennedy’s misreading
17   of the plurality’s reasoning cannot stand in for its actual reasoning. And that actual reasoning is a
18   logical subset of Justice Kennedy’s.
19           The Rapanos dissent also opines that “Justice Kennedy’s approach . . . treats more of the
20   Nation’s waters as within the Corps’ jurisdiction” than the plurality, and that it would be a rare
21   case when the plurality test is met and Justice Kennedy’s is not. Rapanos, 547 U.S. at 810 n.14
22   (Stevens, J., dissenting). No example is offered by the dissent either of a feature that would meet
23   the plurality standard but lack a “significant nexus.”
24           Following the reasoning-based approach to applying Marks, as required under Davis, the
25   proper reading of Rapanos is that the plurality opinion is a logical subset of Justice Kennedy’s
26   reasoning, and on the question of what “navigable waters” means in the Clean Water Act, the
27   plurality is the narrower opinion and is the holding.

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                               (ii)     Under Davis, Justice Kennedy’s Lone Concurrence Cannot
 1                                      Be the Holding of Rapanos
 2           In holding that Justice Sotomayor’s lone concurrence in Freeman cannot be the case’s
 3   holding under Marks, Davis notes that both the plurality and dissent strongly criticized Justice
 4   Sotomayor’s concurrence. Davis, 825 F.3d at 1020 (citing Freeman, 564 U.S. at 533; id. at 550
 5   (Roberts, C.J., dissenting)). “The dissenting opinion accurately stated that the plurality and
 6   concurrence ‘agree on very little except the judgment.’” Davis, 825 F.3d at 1020 (quoting
 7   Freeman, 564 U.S. at 554 (Roberts, C.J., dissenting)).
 8           Following on this analysis, and applying the reasoning-based approach of Davis, it is
 9   difficult to see how any single-Justice opinion of the Supreme Court could be considered the
10   holding under Marks, where all eight other Justices criticize the one Justice’s reasoning. See Reyes
11   v. Lewis, 833 F.3d 1001, 1007-09 (9th Cir. 2016) (Judge Callahan, dissenting from denial of
12   rehearing en banc). “Under the reasoning-based Marks rule, reasoning expressly rejected by at
13   least seven Justices cannot be elevated to the status of controlling Supreme Court law.” Id.
14   at 1008.
15           As with Freeman, both the plurality and the dissent in Rapanos criticized Justice
16   Kennedy’s reasoning.
17           The plurality opinion broadly critiques Justice Kennedy’s concurring opinion. Rapanos,
18   547 U.S. at 753-57. It starts by rejecting Justice Kennedy’s broad reading of the expression
19   “significant nexus” (allowing a case-by-case determination as to non-abutting wetlands, which
20   may be jurisdictional based on ecological as well as hydrological connections) as being
21   irreconcilable with both Riverside Bayview and SWANCC. Rapanos, 547 U.S. at 753-54
22   (Riverside Bayview rejected case-by-case determinations, and SWANCC rejected mere ecological
23   connection for “physically unconnected ponds”). From this, the plurality states: “In fact, Justice
24   Kennedy acknowledges that neither Riverside Bayview nor SWANCC required, for wetlands
25   abutting navigable-in-fact waters, the case-by-case ecological determination that he proposes for
26   wetlands that neighbor nonnavigable tributaries.” Id. at 754.
27   ///

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 1           The plurality insists that the primary error in Justice Kennedy’s analysis is what they find
 2   to be his failure to read Riverside Bayview and SWANCC with the text of the Act in mind.
 3   Rapanos, 547 U.S. at 754; id. at 755 (“Only by ignoring the text of the statute and by assuming
 4   that the phrase of SWANCC (‘significant nexus’) can properly be interpreted in isolation from that
 5   text does Justice Kennedy reach the conclusion that he has arrived at.”). According to the
 6   plurality, Justice Kennedy bases his interpretation on the purpose rather than the text of the Act,
 7   but in doing so also fails to address federalism, which is the second coordinate purpose along with
 8   water quality. Id. at 755-56.
 9           The plurality views Justice Kennedy’s interpretation of “navigable waters” as narrower
10   than the dissent’s but broader than theirs. Id. at 756 (“Justice Kennedy’s disposition would
11   disallow some of the Corps’ excesses, and in that respect is a more moderate flouting of the
12   statutory command than Justice Stevens’.”).
13           In short, the plurality rejects Justice Kennedy’s reasoning on two grounds: too broad a
14   reading of the phrase “significant nexus,” and too broad a reading of the statute due to focusing
15   on one of its two purposes to the exclusion of its other purpose and its text.
16           The dissent for its part “[did] not share [Justice Kennedy’s] view that we should replace
17   regulatory standards that have been in place for over 30 years with a judicially crafted rule
18   distilled from the term ‘significant nexus’ as used in SWANCC.” Rapanos, 547 U.S. at 807
19   (Stevens, J., dissenting). Further, the dissent objected to the fact that Justice Kennedy’s case-by-
20   case “approach will have the effect of creating additional work for all concerned parties.” Id. at
21   809 (Stevens, J., dissenting). Finally, “[u]nlike Justice Kennedy, [the dissent saw] no reason to
22   change Riverside Bayview’s approach—and every reason to continue to defer to the Executive’s
23   sensible, bright-line rule.” Id. (Stevens, J., dissenting).
24           Hence, as with the plurality, the dissent objected to the Kennedy case-by-case approach,
25   and considered his broad reading of “substantial nexus” to go beyond the meaning of the term as
26   used in SWANCC and as a misreading of the Court’s holding in Riverside Bayview. Rapanos, 547
27   ///

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 1   U.S. at 807-09 (Stevens, J., dissenting). And fundamentally, the dissent rejected Justice
 2   Kennedy’s refusal to defer to the government’s regulations. Id. at 810 (Stevens, J., dissenting).
 3           As in Davis, which held that Justice Sotomayor’s lone concurrence could not be the
 4   holding of Freeman under a reasoning-based approach to Marks, Justice Kennedy’s lone
 5   concurrence—the reasoning of which was roundly rejected by all eight of the other Justices—
 6   cannot be the controlling opinion in Rapanos.
 7                          (iii)       The Ninth Circuit’s Superseded Decision in City of Healdsburg
                                        Does Not Control the Marks Analysis of Rapanos
 8

 9           The Ninth Circuit previously held, in N. Cal. River Watch v. City of Healdsburg, 496 F.3d

10   993 (9th Cir. 2007), that Justice Kennedy’s concurrence is the holding of Rapanos. However, the

11   subsequent intervening authority of Davis fatally undermines the results-based approach of

12   Healdsburg, which is no longer precedent in the Ninth Circuit.

13                                      (a)        Any District Court in This Circuit Can Hold That
                                                   Davis Fatally Undermines Healdsburg
14

15           District courts may reexamine circuit precedent in light of intervening en banc decisions
16   of the Ninth Circuit. Miller v. Gammie, 335 F.3d 889, 892-93 (9th Cir. 2003) (en banc) (Supreme
17   Court decisions); Overstreet v. United Brotherhood of Carpenters and Joiners of Am., Local
18   Union No. 1506, 409 F.3d 1199, 1205 n.8 (9th Cir. 2005) (citation omitted) (en banc Ninth Circuit
19   decisions).
20           We hold that . . . where the reasoning or theory of our prior circuit authority is
             clearly irreconcilable with the reasoning or theory of intervening higher authority,
21           a three-judge panel should consider itself bound by the later and controlling
             authority, and should reject the prior circuit opinion as having been effectively
22           overruled.
23   Miller v. Gammie, 335 F.3d at 893. The issues decided by the higher court need not be identical
24   to allow a district court to dispense with prior circuit authority. “Rather, the relevant court . . .
25   must have undercut the theory or reasoning underlying the prior circuit precedent in such a way
26   that the cases are clearly irreconcilable.” Id. at 900.
27   ///
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 1           In Overstreet the Ninth Circuit examined its prior holding in Nelson v. Int’l Brotherhood
 2   of Elec. Workers, Local Union No. 46, AFL-CIO, 899 F.2d 1557 (9th Cir. 1990) (NLRB entitled
 3   to injunction under Section 10(l) of the National Labor Relations Act under “reasonable cause”
 4   standard), and concluded that its subsequent en banc decision interpreting a different provision of
 5   the Act relating to injunctions, Miller v. Cal. Pac. Med. Ctr., 19 F.3d 449, 455 (9th Cir. 1994) (en
 6   banc) (Section 10(j) of the Act requires the application of ordinary standards for issuance of
 7   injunctions), had overruled the prior panel decision in Nelson as to Section 10(l). Overstreet, 409
 8   F.3d at 1204-05. In analyzing whether Nelson’s holding on Section 10(j) overruled Miller’s
 9   holding on Section 10(l), the Court focused on whether the reasoning of the two cases regarding
10   the standard was consistent, and decided that the later en banc decision had undermined the
11   reasoning of the earlier panel decision. Overstreet, 409 F.3d at 1205-06.
12           This Court must reassess Healdsburg under the en banc Ninth Circuit’s holding in Davis,
13   and should conclude that Healdsburg no longer controls, because the reasoning-based approach
14   to Marks, as required by Davis, is clearly irreconcilable with and fatally undermines Healdsburg.
15                                      (b)        Healdsburg Uses the Now Forbidden
                                                   Results-Based Approach
16

17           Healdsburg summarily concluded that the Rapanos concurrence controls, with little
18   discussion beyond a cursory citation to Marks: “Justice Kennedy, constituting the fifth vote for
19   reversal, concurred only in the judgment” and, therefore, “provides the controlling rule of law.”
20   Healdsburg, 496 F.3d at 999-1000 (quoting Marks, 430 U.S. at 193). This is well short of the
21   Marks analysis required by Davis. See Davis, 825 F.3d at 1024 (dismissing other circuit
22   authorities that “engage with Marks only superficially, quoting its language with no analysis”).
23   Healdsburg gives no reason why it adopted the concurrence other than to cite United States v.
24   Gerke Excavating, Inc., 464 F.3d 723 (7th Cir. 2006), itself a brief opinion concluding without
25   substantive application of Marks that the concurrence controls.
26           Fatally for Healdsburg, it states that the “concurrence is the narrowest ground to which a
27   majority of the Justices would assent if forced to choose in almost all cases.” 496 F.3d at 999.

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 1   This is the results-based approach which Davis rejected. Healdsburg also concludes that Justice
 2   Kennedy’s concurrence is a narrower subset of the Rapanos dissent. 496 F.3d at 999. But this is
 3   rejected by Cardenas subsequent to Davis. And Cardenas’ rejection of dissents for Marks
 4   analysis, following Davis, is further demonstration that the Ninth Circuit has moved on from the
 5   cursory and results-oriented Marks analysis used in Healdsburg.
 6           Also fatally, Healdsburg relies almost exclusively on the Seventh Circuit’s decision in
 7   Gerke. That in turn explicitly uses the results-based approach in selecting the concurrence:
 8           Thus, any conclusion that Justice Kennedy reaches in favor of federal authority
             over wetlands in a future case will command the support of five Justices (himself
 9           plus the four dissenters), and in most cases in which he concludes that there is no
             federal authority he will command five votes (himself plus the four Justices in the
10
             Rapanos plurality)[.]
11   Gerke, 464 F.3d at 725 (emphasis in original).
12           Healdsburg is fatally undermined in two ways. It uses the results-based approach which
13   Davis definitively rejects. And it uses the dissent as the broader opinion of which it concludes the
14   concurrence is the narrower subset, in violation of Cardenas. See also Gibson v. American
15   Cyanamid Co., 760 F.3d 600, 621 (7th Cir. 2014) (Gerke provides no authority for using
16   dissenting opinions in Marks analysis). Under Miller v. Gamie, Healdsburg is no longer the law
17   of this Circuit.
18
                        3.     The Plurality Opinion Is the Holding of Rapanos, so
19
                               the Injunction Should Extend to All Intermittent
                               Streams and Non-abutting Wetlands
20
             As demonstrated above, the plurality opinion in Rapanos is the holding of the case. So,
21
     the scope of the injunction issued pursuant to this motion should bar regulation of (i) all
22
     intermittent tributaries that would otherwise be regulated under Subsection 328.3(a)(3) and
23
     328.3(c)(12), and (ii) all wetlands that do not directly abut other regulated water bodies, that
24
     would otherwise be regulated under Subsection 328.3(a)(4) and 328.3(c)(1)(ii)-(iv). Wetlands
25
     only “abut” if they have a direct physical interconnection with the water they abut such that it is
26
     difficult to establish where one begins and the other ends. See Rapanos, 547 U.S. at 739, 742
27
     (limits to regulation of tributaries and adjacent wetlands).
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                            a.     If Justice Kennedy’s Concurrence Is the Holding, Then
 1                                 the Injunction Should Extend to All Intermittent Tributaries
                                   and Non-abutting Wetlands Except Those Shown to Have
 2
                                   a Significant Nexus
 3           If the Court holds that Justice Kennedy’s concurrence is the holding of Rapanos, then the
 4   Court should enjoin the enforcement of the challenged subsections to the extent they would
 5   regulate tributaries or wetlands for which EPA or the Army have not established, on a case-by-
 6   case basis, a significant nexus to a downstream navigable-in-fact river or lake. Rapanos, 547 U.S.
 7   at 780-81 (Kennedy, J., concurring) (specifying limits of authority to regulate tributaries and
 8   adjacent wetlands that lack a significant nexus).
 9
                            b.     If Marks Cannot be Applied, Then the Injunction Should
10
                                   Extend to All Non-navigable Tributaries and Adjacent Wetlands

11           If the Court holds that Marks cannot be applied to Rapanos, as have the First, Third, and
12   Eighth Circuits, then the Court should enjoin the regulation of any non-navigable tributaries, and
13   any wetlands that do not abut navigable-in-fact lakes or rivers. United States v. Johnson, 467 F.3d
14   56, 64 (1st Cir. 2006), United States v. Donovan, 661 F.3d 174, 182 (3d Cir. 2011), and United
15   States v. Bailey, 571 F.3d 791, 799 (8th Cir. 2009), all conclude that Marks cannot be applied.
16   However, each of these decisions then errs in concluding that as a result the government can
17   regulate water features that meet the criteria in either opinion. Johnson, 467 F.3d at 66; Donovan,
18   661 F.3d at 182; Bailey, 571 F.3d at 799.
19           This is an entirely erroneous application of Marks, and conflicts with Davis, that where it
20   cannot be applied to a Supreme Court decision, the decision provides no rule of law to be applied.
21   In such cases, only the judgment in the case can be applied. The judgment in Rapanos was to
22   invalidate the tributary and adjacent wetlands subsections of the 1986 Regulations, and to remand
23   to the Sixth Circuit to do its best without the regulations.
24           The plurality, to a degree, and the concurrence to a greater degree, each allow the
25   regulation of some non-navigable tributaries and adjacent wetlands. But if neither opinion is the
26   holding, then the only result of Rapanos is the judgment invalidating the regulation of tributaries
27   and adjacent wetlands (except those covered by Bayview Riverside Homes). Absent a holding that
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 1   allows regulation of some of these features, the judgment forecloses regulation of any of them.
 2   So if this Court holds that neither opinion is the holding, then it should enjoin the regulation of
 3   all non-navigable tributaries, and all wetlands that do not directly abut navigable-in-fact waters.
 4           B.       Cattlemen Will Suffer Irreparable Harm Absent an Injunction,
                      Because Their Injury Is Constitutional, and Because They
 5                    Cannot Feasibly Obtain Army Permits on the Necessary
                      Timetable and Cannot Recover the Costs of Obtaining Them
 6

 7           “When an alleged deprivation of a constitutional right is involved, . . . most courts hold
 8   that no further showing of irreparable injury is necessary.” 11A Wright & Miller, Federal
 9   Practice and Procedure § 2948.1 (3d ed. 2013) (footnotes omitted). “[V]iolation of a
10   constitutional right must weigh heavily in [the] analysis” of irreparable harm. Fish v. Kobach,
11   840 F.3d 710, 752 (10th Cir. 2016). Rapanos states that the tributary and adjacent wetland
12   subsections of the 1986 Regulations (which as shown above are identical in pertinent respects to
13   the provisions of the 2020 Regulations which Cattlemen seeks to enjoin in this motion) violate
14   the Commerce Clause and the Tenth Amendment. 547 U.S. at 738. No further proof of injury is
15   necessary for an injunction to issue. See Atl. Coast Demolition & Recycling, Inc. v. Bd. of Chosen
16   Freeholders of Atl. Cty., 893 F. Supp. 301, 309 (D.N.J. 1995) (“a violation of rights under the . . .
17   Commerce Clause constitutes . . . ‘irreparable harm’”); Citicorp Services, Inc. v. Gillespie, 712
18   F. Supp. 749, 753 (N.D. Cal. 1989) (Commerce Clause violation causes irreparable harm).
19           The Twentyfourth Claim for Relief in Cattlemen’s Second Supplemental Complaint
20   alleges that the Intermittent Tributary and Non-abutting Wetland Provisions violate the Tenth
21   Amendment and the Commerce Clause. Second Supplemental Complaint ¶¶ 219-33, at 43-45,
22   ECF 72. The Supreme Court agrees. Rapanos, 547 U.S. at 730 (certiorari granted to determine
23   constitutionality of Clean Water Act); id. at 738 (tributary provision of 1986 Regulations exceeds
24   Commerce Power); see also id. at 782 (Kennedy, J., concurring) (significant nexus requirement
25   prevents Act from exceeding constitutional limits).
26           The essence of these claims is that the Intermittent Tributary and Non-abutting Wetland
27   Provisions exceed not only the scope of the Clean Water Act, but Congress’ power to legislate
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 1   under the Tenth Amendment and the Commerce Clause. All Americans have the constitutional
 2   right to be free from Congressional and Executive Branch regulations that exceed the limited and
 3   enumerated powers of the federal government. This is no less true of the limits imposed by the
 4   Commerce Clause and Tenth Amendment than those imposed by the First, Fourth, Fifth, or Eighth
 5   Amendments. New York v. United States, 505 U.S. 144, 181 (1992) (“The Constitution divides
 6   authority between federal and state governments for the protection of individuals.”); Garcia v.
 7   San Antonio Metro. Transit Auth., 469 U.S. 528, 572 (1985) (Powell, J., dissenting) (“[B]y
 8   usurping functions traditionally performed by the States, federal overreaching under the
 9   Commerce Clause undermines the constitutionally mandated balance of power between the States
10   and the Federal Government, a balance designed to protect our fundamental liberties.”).
11           These constitutional violations satisfy the criteria for irreparable harm for constitutional
12   claims. Fish v. Kobach, 840 F.3d at 752.
13           Even without constitutional injury, application of the Intermittent Tributary and Non-
14   abutting Wetland Provisions imminently and irreparably harms Cattlemen. The question here is
15   not the severity of the harm, but whether it is actual or imminent, and irreparable. “[I]t is not so
16   much the magnitude [of the harm] but the irreparability that counts for purposes of a preliminary
17   injunction.” Canal Authority of State of Florida v. Callaway, 489 F.2d 567, 575 (5th Cir. 1974).
18   The “alleged harm need not be occurring or be certain to occur” to grant a preliminary injunction.
19   Michigan v. United States Army Corps of Engineers, 667 F.3d 765, 788 (7th Cir. 2011) (citing
20   United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953)).
21           Many of Cattlemen’s members will be required to seek permits for projects that are not
22   legally regulated under the Clean Water Act. Ledgerwood Decl. ¶¶ 3-4, ECF 16; Stokes Decl.
23   ¶¶ 2-7, 10, ECF 17; Supp. Ledgerwood Decl. ¶¶ 2-9, ECF 36; Supp. Stokes Decl. ¶¶ 2-14, ECF
24   37. In particular, intermittent tributaries and non-abutting “adjacent” waters are frequently found
25   on members’ properties. Ledgerwood Decl. ¶ 3, ECF 16; Stokes Decl. ¶¶ 3, 10, ECF 17; Supp.
26   Ledgerwood Decl. ¶ 7, ECF 36; Supp. Stokes Decl. ¶¶ 11-14, ECF 37. Because of the universal
27   scope of these provisions, many members will be required to either curtail operations or seek

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 1   costly permits and suffer significant delays. Ledgerwood Decl. ¶ 4, ECF 16; Stokes Decl. ¶¶ 3, 7,
 2   10, ECF 17; Supp. Ledgerwood Decl. ¶¶ 7-9, ECF 36; Supp. Stokes Decl. ¶¶ 3-4, 7-10, 13-14,
 3   ECF 37. And, they cannot recover the tens to hundreds of thousands of dollars in permitting
 4   expenses that the Provisions impose since “the United States has not waived sovereign immunity
 5   from suits seeking these sorts of damages.” Georgia v. Pruitt, 326 F. Supp. 3d 1356, 1367 (S.D.
 6   Ga. 2018).
 7           In 2006 the Supreme Court invalidated the Tributary and Adjacent Wetland Subsections
 8   of the 1986 Regulations. Rapanos, 547 U.S. at 728; id. at 739 (Act does not authorize regulation
 9   of intermittent and ephemeral tributaries); id. at 755 (Act does not authorize regulation of
10   wetlands that do not comingle with regulable tributaries); id. at 757 (remanding case for
11   consideration under Supreme Court interpretation of the Act rather than regulations); id. at 759
12   (Kennedy, J., concurring) (issue is whether statute authorizes regulation of all non-navigable
13   tributaries and non-abutting wetlands); id. at 781 (Kennedy, J., concurring) (regulation of all
14   tributaries invalid under the Act); id. at 779 (Kennedy, J., concurring) (regulation asserting
15   authority over all “neighboring” wetlands exceeds Act’s requirement for significant nexus).
16           The Navigable Waters Protection Rule re-imposes identical portions of both of these
17   illegal provisions on Cattlemen’s members, requiring them to comply with federal limits on use
18   of their own property to the extent of intermittent drainages and other water features.
19           The Declarations and Supplemental Declarations of Stokes and Ledgerwood show that
20   Cattlemen’s members’ properties commonly have intermittent drainages that are illegally and
21   unconstitutionally regulated by the Intermittent Tributary and Non-abutting Wetland Provisions.
22   Ledgerwood Decl. ¶ 3, ECF 16; Stokes Decl. ¶¶ 3, 10, ECF 17; Supp. Ledgerwood Decl. ¶ 7,
23   ECF 36; Supp. Stokes Decl. ¶¶ 11-14, ECF 37.
24           With the frequent presence of intermittent drainages and other temporary water features
25   on their land, Cattlemen’s members will either have to forego plowing and other earth moving
26   operations in and around these features, or obtain prohibitively expensive permits to eventually
27   ///

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 1   proceed (after multi-year waits) with those operations. If they proceed with their operations
 2   without permits, they face crippling liability.
 3           To avoid this liability, it would be necessary for Cattlemen to seek advance determinations
 4   from the Army whether their operations are exempt under 33 C.F.R. § 320.1(a)(6). This
 5   determination is itself time-consuming and costly. See Duarte Nursery v. Army Corps, E.D. Cal.
 6   case no. 2:13-cv-02095-KJM, Deposition of James Robb, ECF 113, at 66:9–75:11 (establishing
 7   exemption requires jurisdictional delineation and detailed explanation of farming history), Exhibit
 8   A to François Decl; Stokes Decl. ¶ 7, ECF 17. So the exemption cannot be confirmed without the
 9   time and expense of the jurisdictional determination that the exemption would in theory make
10   unnecessary.
11           These harms are ongoing or imminent. The Provisions will take effect on June 22, 2020.
12   85 Fed. Reg. 22,250. Because permitting takes more than two years on average, Cattlemen’s
13   members will be unable to legally engage in any earth moving operations on their own property
14   wherever they encounter intermittent drainages and other temporary water features for at least
15   two years. This includes any non-exempt plowing during the next two years, as well erosion
16   control and prevention, sediment trapping, and even environmental enhancement projects. Many
17   of these operations may be urgently required on an unpredictable basis due to weather and other
18   factors. See Oregon Cattlemen’s Association v. EPA, D. Or. Case No. 3:19-cv-00564-AC;
19   Transcript of July 17, 2019, Bench Ruling Granting Motion for Preliminary Injunction, at 37:7–
20   38:13 (illegal regulation of tributaries by 2015 Regulations, where “circumstances can change
21   rapidly,” is imminent and irreparable harm to Cattlemen); Exhibit B to François Decl.; cf. Kansas
22   Health Care Ass’n, Inc. v. Kansas Dep’t of Social and Rehabilitation Services, 31 F.3d 1536,
23   1543 (10th Cir. 1994) (trade association showed irreparable harm when no remedy available to
24   redress illegal regulations).
25           Cattlemen’s members will suffer costs, delays, and inability to use their own land, for
26   which no money damages or other remedy is available, and which are ongoing or imminently
27   planned or necessary within the two-year time frame for permitting, especially considering the

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 1   unpredictability of weather conditions that may require prompt action. Cattlemen faces ongoing
 2   or imminent irreparable injury as a result of the Tributary and Adjacent Wetland Subsections.
 3           C.       The Balance of Equities and the Public Interest Both Favor an Injunction
 4           A plaintiff seeking a preliminary injunction must show that “the balance of equities tips
 5   in his favor.” Winter, 555 U.S. at 20. In this case, the risk of harm of granting a preliminary
 6   injunction is low. The Intermittent Tributary and Non-abutting Wetland Provisions are
 7   indistinguishable from the corresponding provisions of the 1986 Regulations that were already
 8   ruled illegal by the Supreme Court in 2006. Furthermore, “[t]he Government ‘cannot suffer harm
 9   from an injunction that merely ends an unlawful practice’” as would an injunction here. R.I.L-R
10   v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015) (quoting Rodriguez v. Robbins, 715 F.3d 1127,
11   1145 (9th Cir. 2013)).
12           Furthermore, “enforcing the APA strictly [would better] serve the public interest.” Texas
13   Food Indus. Ass’n v. U.S. Dep’t of Agriculture, 842 F. Supp. 254, 261 (W.D. Tex. 1993); accord
14   N. Mariana Islands v. United States, 686 F. Supp. 2d 7, 21 (D.D.C. 2009) (“The public interest is
15   served when administrative agencies comply with their obligations under the APA.”). On the
16   other hand, without an injunction “the states, their governmental subdivisions, and their citizens”
17   will be asked “to expend valuable resources and time operationalizing a rule that may not survive
18   judicial review.” Texas v. United States Environmental Protection Agency, No. 3:15-CV-00162,
19   2018 WL 4518230, at *1 (S.D. Tex. Sept. 12, 2018); accord Georgia v. Pruitt, 326 F. Supp. 3d
20   at 1370 (“[I]f the [2015 Navigable Waters Definition] becomes effective before a final decision
21   on the merits is rendered, farmers, homeowners, and small businesses will need to devote time
22   and expense to obtaining federal permits—all to comply with a rule that is likely to be
23   invalidated.”). None of that is in the public interest.
24   ///
25   ///
26   ///
27   ///

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 1                                                 CONCLUSION
 2                    The Court should rule that the Rapanos plurality is the controlling rule of law and
 3   grant the requested preliminary injunction.
 4           DATED: June 15, 2020.
                                                            Respectfully submitted,
 5

 6                                                          PACIFIC LEGAL FOUNDATION

 7    s/ Anthony L. François                                 s/ Ethan W. Blevins
      ANTHONY L. FRANÇOIS, Cal. Bar # 184100*               ETHAN W. BLEVINS, WSBA # 48219
 8
      DANIEL M. ORTNER, Va. Bar # 89460*                    Pacific Legal Foundation
 9    Pacific Legal Foundation                              255 South King Street, Suite 800
      930 G Street                                          Seattle, Washington 98104
10    Sacramento, California 95814                          Telephone: (206) 619-8944
11
      Telephone: (916) 419-7111                             Email: EBlevins@pacificlegal.org
      Fax: (916) 419-7477
12    Email: AFrancois@pacificlegal.org
      Email: DOrtner@pacificlegal.org
13    *Admitted Pro Hac Vice
14
                           Counsel for Plaintiff Washington Cattlemen’s Association
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      Pl.’s 2d Motion for Preliminary Injunction                          Pacific Legal Foundation
      Case No. 2:19-cv-00569-JCC                       35                 930 G Street
                                                                          Sacramento, California 95814
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 1                                      CERTIFICATE OF SERVICE
 2           I hereby certify that on June 15, 2020, I electronically filed the foregoing document with
 3   the Clerk of the Court via the CM/ECF system, which will cause a copy to be served upon
 4   counsel of record.
                                                           By /s/ Ethan W. Blevins
 5                                                         ETHAN W. BLEVINS
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     Pl.’s 2d Motion for Preliminary Injunction                         Pacific Legal Foundation
     Case No. 2:19-cv-00569-JCC                     36                  930 G Street
                                                                        Sacramento, California 95814
                                                                        (916) 419-7111
